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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION


              UNITED STATES OF AMERICA
                                                             CRIMINAL CASE NO.
              v.                                             1:12-CR-00085-AT-JFK
              JUAN CARLOS ROJAS-LIRA,
              DAVID ROMERO-FLORES,
              SILVESTRE ROMERO-REYES,
                                   Defendants.

                                  REPORT AND RECOMMENDATION

                     Pending before the court is Defendant David Romero-Flores’ motion [Doc. 36]

             for a severance from the trial of co-Defendant Juan Carlos Rojas-Lira. Defendant

             contends that Defendant Rojas-Lira’s post-arrest statement to law enforcement officers

             incriminates Defendant Romero-Flores in the conduct charged in the indictment

             requiring a severance pursuant to Bruton v. United States, 88 S. Ct. 1620 (1968). [Id.].

             In response to the motion for severance, the Government concedes that the statement

             provided by Defendant Rojas-Lira is inculpatory as to Defendant Romero-Flores, that

             the statement cannot be redacted so as to eliminate directly implicating Defendant in

             the charged criminal conduct, and that a joint trial of the Defendants will run afoul of

             the protections established by the Supreme Court in Bruton. [Doc. 40]. Accordingly,




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             the Government agrees with Defendant that a separate trial of these Defendants is

             necessary. [Id. at 5].

                   Based on the representations by the Government and it’s agreement that a

             severance will be necessary should both Defendants proceed to trial, the court

             RECOMMENDS that Defendant’s motion [Doc. 36] for severance be GRANTED.

                   There are no other pending matters before the Magistrate Judge, and the

             undersigned is aware of no problems relating to the scheduling of this case.

                   IT IS THEREFORE ORDERED and ADJUDGED that this action be and the

             same is hereby, declared Ready for Trial as to all Defendants.

                   SO RECOMMENDED AND ORDERED THIS 26TH DAY OF JUNE, 2012.




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